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                                                                     Hyatt Regency Irvine
                                         #:325436
                                                                       17900 Jamboree Road
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                                                                       Tel: 949.975.1234
                                                                       Fax: 949.852.1574
                                                                       Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
        United States                                                  Page No.           1 of 56
                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
             Schwartz, Robert Room # 0219
03-29-11     Package Room                                                         99.00
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13
03-31-11     Package Room                                                         99.00
03-31-11     Occupancy Tax                                                         9.90
03-31-11     CA Assessment Fee                                                     0.13
                                          Guest Total                            327.09                0.00
             Watson, Cheryl Room # 0223
03-28-11     Package Room                                                         99.00
03-28-11     Occupancy Tax                                                         9.90
03-28-11     CA Assessment Fee                                                     0.13
03-29-11     Package Room                                                         99.00
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13
03-31-11     Package Room                                                         99.00
03-31-11     Occupancy Tax                                                         9.90
03-31-11     CA Assessment Fee                                                     0.13
04-01-11     Package Room                                                         99.00
04-01-11     Occupancy Tax                                                         9.90
04-01-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
                                         #:325437
                                                                       17900 Jamboree Road
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                                                                       Tel: 949.975.1234
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
        United States                                                  Page No.           2 of 56
                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
04-02-11     Package Room                                                        99.00
04-02-11     Occupancy Tax                                                         9.90
04-02-11     CA Assessment Fee                                                     0.13
04-03-11     Package Room                                                        99.00
04-03-11     Occupancy Tax                                                         9.90
04-03-11     CA Assessment Fee                                                     0.13
04-04-11     Package Room                                                        99.00
04-04-11     Occupancy Tax                                                         9.90
04-04-11     CA Assessment Fee                                                     0.13
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                         9.90
04-05-11     CA Assessment Fee                                                     0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                         9.90
04-06-11     CA Assessment Fee                                                     0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                         9.90
04-07-11     CA Assessment Fee                                                     0.13
04-08-11     Package Room                                                        99.00
04-08-11     Occupancy Tax                                                         9.90
04-08-11     CA Assessment Fee                                                     0.13
04-09-11     Package Room                                                        99.00
04-09-11     Occupancy Tax                                                         9.90
04-09-11     CA Assessment Fee                                                     0.13
04-10-11     Package Room                                                        99.00
04-10-11     Occupancy Tax                                                         9.90
04-10-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
                                         #:325438
                                                                       17900 Jamboree Road
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
        United States                                                  Page No.           3 of 56
                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
04-11-11     Package Room                                                         99.00
04-11-11     Occupancy Tax                                                         9.90
04-11-11     CA Assessment Fee                                                     0.13
04-12-11     Package Room                                                         99.00
04-12-11     Occupancy Tax                                                         9.90
04-12-11     CA Assessment Fee                                                     0.13
04-13-11     Package Room                                                         99.00
04-13-11     Occupancy Tax                                                         9.90
04-13-11     CA Assessment Fee                                                     0.13
04-14-11     Package Room                                                         99.00
04-14-11     Occupancy Tax                                                         9.90
04-14-11     CA Assessment Fee                                                     0.13
                                         Guest Total                           1,962.54                0.00
             Gruca, Thomas Room # 0225
03-28-11     Package Room                                                         99.00
03-28-11     Occupancy Tax                                                         9.90
03-28-11     CA Assessment Fee                                                     0.13
03-29-11     Package Room                                                         99.00
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13
                                         Guest Total                             327.09                0.00
             Jolicoeur, Dennis Room # 0227
04-04-11     No Show Room                                                         99.00
04-04-11     Occupancy Tax                                                         9.90


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                                                                     Hyatt Regency Irvine
                                         #:325439
                                                                       17900 Jamboree Road
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
        United States                                                  Page No.           4 of 56
                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
04-04-11     CA Assessment Fee                                                     0.13
                                        Guest Total                              109.03                0.00
             Mingrone, Denise Room # 0228
03-28-11     Package Room                                                         99.00
03-28-11     Occupancy Tax                                                         9.90
03-28-11     CA Assessment Fee                                                     0.13
03-29-11     Package Room                                                         99.00
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13
03-31-11     Package Room                                                         99.00
03-31-11     Occupancy Tax                                                         9.90
03-31-11     CA Assessment Fee                                                     0.13
04-01-11     Package Room                                                         99.00
04-01-11     Occupancy Tax                                                         9.90
04-01-11     CA Assessment Fee                                                     0.13
04-02-11     Package Room                                                         99.00
04-02-11     Occupancy Tax                                                         9.90
04-02-11     CA Assessment Fee                                                     0.13
04-03-11     Package Room                                                         99.00
04-03-11     Occupancy Tax                                                         9.90
04-03-11     CA Assessment Fee                                                     0.13
04-04-11     Package Room                                                         99.00
04-04-11     Occupancy Tax                                                         9.90
04-04-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
                                         #:325440
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
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                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                         9.90
04-05-11     CA Assessment Fee                                                     0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                         9.90
04-06-11     CA Assessment Fee                                                     0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                         9.90
04-07-11     CA Assessment Fee                                                     0.13
04-08-11     Package Room                                                        99.00
04-08-11     Occupancy Tax                                                         9.90
04-08-11     CA Assessment Fee                                                     0.13
04-09-11     Package Room                                                        99.00
04-09-11     Occupancy Tax                                                         9.90
04-09-11     CA Assessment Fee                                                     0.13
04-10-11     Package Room                                                        99.00
04-10-11     Occupancy Tax                                                         9.90
04-10-11     CA Assessment Fee                                                     0.13
04-11-11     Package Room                                                        99.00
04-11-11     Occupancy Tax                                                         9.90
04-11-11     CA Assessment Fee                                                     0.13
04-12-11     Package Room                                                        99.00
04-12-11     Occupancy Tax                                                         9.90
04-12-11     CA Assessment Fee                                                     0.13
04-13-11     Package Room                                                        99.00
04-13-11     Occupancy Tax                                                         9.90
04-13-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
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                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
04-14-11     Day Use Room                                                         49.50
04-14-11     Occupancy Tax                                                         4.95
                                        Guest Total                            1,907.96                0.00
             Stofen, John Room # 0229
03-28-11     Package Room                                                         99.00
03-28-11     Occupancy Tax                                                         9.90
03-28-11     CA Assessment Fee                                                     0.13
03-29-11     Package Room                                                         99.00
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13
03-31-11     Package Room                                                         99.00
03-31-11     Occupancy Tax                                                         9.90
03-31-11     CA Assessment Fee                                                     0.13
                                        Guest Total                              436.12                0.00
             Boulankine, Denis Room # 0229
04-08-11     Guest Room                                                           99.00
04-08-11     Occupancy Tax                                                         9.90
04-08-11     CA Assessment Fee                                                     0.11
                                        Guest Total                              109.01                0.00
             Rorie, Frank Room # 0231
03-28-11     Package Room                                                         99.00
03-28-11     Occupancy Tax                                                         9.90
03-28-11     CA Assessment Fee                                                     0.13
03-29-11     Package Room                                                         99.00


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                                                                     Hyatt Regency Irvine
                                         #:325442
                                                                       17900 Jamboree Road
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
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Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13
03-31-11     Package Room                                                         99.00
03-31-11     Occupancy Tax                                                         9.90
03-31-11     CA Assessment Fee                                                     0.13
04-01-11     Package Room                                                         99.00
04-01-11     Occupancy Tax                                                         9.90
04-01-11     CA Assessment Fee                                                     0.13
04-02-11     Package Room                                                         99.00
04-02-11     Occupancy Tax                                                         9.90
04-02-11     CA Assessment Fee                                                     0.13
04-03-11     Package Room                                                         99.00
04-03-11     Occupancy Tax                                                         9.90
04-03-11     CA Assessment Fee                                                     0.13
04-04-11     Package Room                                                         99.00
04-04-11     Occupancy Tax                                                         9.90
04-04-11     CA Assessment Fee                                                     0.13
04-05-11     Package Room                                                         99.00
04-05-11     Occupancy Tax                                                         9.90
04-05-11     CA Assessment Fee                                                     0.13
                                        Guest Total                              981.27                0.00
             Camaya, John Room # 0232
04-04-11     Package Room                                                         99.00
04-04-11     Occupancy Tax                                                         9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 9 of 57 Page ID
                                                                     Hyatt Regency Irvine
                                         #:325443
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
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Payee                                                                  Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                       Arrival            03-28-11
        16380 Roscoe Blvd                                              Departure          04-28-11
        Van Nuys CA 91406
        United States                                                  Page No.           8 of 56
                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment


 Date        Description                                                       Charges              Credits
04-04-11     CA Assessment Fee                                                     0.13
04-05-11     Package Room                                                         99.00
04-05-11     Occupancy Tax                                                         9.90
04-05-11     CA Assessment Fee                                                     0.13
04-06-11     Package Room                                                         99.00
04-06-11     Occupancy Tax                                                         9.90
04-06-11     CA Assessment Fee                                                     0.13
04-07-11     Package Room                                                         99.00
04-07-11     Occupancy Tax                                                         9.90
04-07-11     CA Assessment Fee                                                     0.13
04-08-11     Package Room                                                         99.00
04-08-11     Occupancy Tax                                                         9.90
04-08-11     CA Assessment Fee                                                     0.13
04-09-11     Package Room                                                         99.00
04-09-11     Occupancy Tax                                                         9.90
04-09-11     CA Assessment Fee                                                     0.13
                                          Guest Total                            654.18                0.00
             Navarro, Maria Room # 0234
03-28-11     Package Room                                                         99.00
03-28-11     Occupancy Tax                                                         9.90
03-28-11     CA Assessment Fee                                                     0.13
03-29-11     Package Room                                                         99.00
03-29-11     Occupancy Tax                                                         9.90
03-29-11     CA Assessment Fee                                                     0.13
03-30-11     Package Room                                                         99.00
03-30-11     Occupancy Tax                                                         9.90
03-30-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
                                          #:325444
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges              Credits
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325445
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           10 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                       99.00
04-14-11     Occupancy Tax                                                        9.90
04-14-11     CA Assessment Fee                                                    0.13
                                        Guest Total                           1,962.54              0.00
             Baker, Bryce Room # 0239
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 12 of 57 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325446
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           11 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325447
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INFORMATION INVOICE



Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           12 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
                                             Guest Total                      1,417.39              0.00
             Phillips, Melanie Room # 0244
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           13 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,308.36              0.00
             Salas, Manu Room # 0245
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           14 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,853.51              0.00
             Cote, Alex Room # 0248
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,308.36              0.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
             Kierckhefer, Kieran Room # 0250
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                        99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
                                         Guest Total                          1,308.36              0.00
             Potgiesser, Patrick Room # 0251
04-04-11     Package Room                                                        99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
                                         Guest Total                            218.06              0.00
             Ako-Nai, Abby Room # 0252
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 21 of 57 Page ID
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                       99.00
04-14-11     Occupancy Tax                                                        9.90
04-14-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,962.54              0.00
             Calderon, James Room # 0254
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          436.12              0.00
             Rutowski, Diana Room # 0255
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                        99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                        99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325457
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,417.39              0.00
             Mcbirney, Jimmy Room # 0257
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325458
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INFORMATION INVOICE



Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           23 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00


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                                          #:325459
                                                                      17900 Jamboree Road
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                                                                      Fax: 949.852.1574
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           24 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                        99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                        99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                        99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                        99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-13-11     Group Room                                                          99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-13-11     Occupancy Tax                                                        0.13
                                       Guest Total                            1,744.61              0.00
             Mcbirney, Jimmy Room # 0257
04-13-11     Package Room                                                        99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                        99.00
04-14-11     Occupancy Tax                                                        9.90
04-14-11     CA Assessment Fee                                                    0.13
                                       Guest Total                              218.06              0.00


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           25 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
             San Diego, Neal Room # 0259
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           26 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Early Departure                                                    99.00
04-14-11     Occupancy Tax                                                        9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 28 of 57 Page ID
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           27 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
                                            Guest Total                       1,962.41              0.00
             Palencia, Mystic Room # 0260
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.           28 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,853.51              0.00


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
             Parker, Warrington Room # 0262
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
                                          Guest Total                         1,744.48              0.00
             Overland, Mark Room # 0263
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 32 of 57 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325466
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
                                        Guest Total                           1,308.36              0.00
             Hewlett, Matthew Room # 0268
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325468
                                                                      17900 Jamboree Road
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INFORMATION INVOICE



Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325469
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                                                                      Irvine, CA 92614
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                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                       99.00
04-14-11     Occupancy Tax                                                        9.90
04-14-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,962.54              0.00
             Groner, Jim Room # 0301
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                       99.00
04-14-11     Occupancy Tax                                                        9.90
04-14-11     CA Assessment Fee                                                    0.13
                                        Guest Total                           1,526.42              0.00
             Saunders, Lisa Suzanne Room # 0311


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-03-11     Package Room                                                        99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                        99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
                                       Guest Total                              436.12              0.00
             White, Troy Room # 0319
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                        99.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
                                            Guest Total                       1,308.36              0.00
             Valerio, Anthony Room # 0321
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                        99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                        99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
                                       Guest Total                              654.18              0.00
             Mga, Prep 2 Room # 0323
03-28-11     Package Room                                                       129.00
03-28-11     Occupancy Tax                                                       12.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       129.00
03-29-11     Occupancy Tax                                                       12.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       129.00
03-30-11     Occupancy Tax                                                       12.90
03-30-11     CA Assessment Fee                                                    0.13


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Payee                                                                 Room No.           9003
        MGA Entertainment
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        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-31-11     Package Room                                                       129.00
03-31-11     Occupancy Tax                                                       12.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       129.00
04-01-11     Occupancy Tax                                                       12.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       129.00
04-02-11     Occupancy Tax                                                       12.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       129.00
04-03-11     Occupancy Tax                                                       12.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       129.00
04-04-11     Occupancy Tax                                                       12.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       129.00
04-05-11     Occupancy Tax                                                       12.90
04-05-11     CA Assessment Fee                                                    0.13
                                       Guest Total                            1,278.27              0.00
             Mga, Prep 1 Room # 0324
03-28-11     Package Room                                                       129.00
03-28-11     Occupancy Tax                                                       12.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       129.00
03-29-11     Occupancy Tax                                                       12.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       129.00


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-30-11     Occupancy Tax                                                       12.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       129.00
03-31-11     Occupancy Tax                                                       12.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       129.00
04-01-11     Occupancy Tax                                                       12.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       129.00
04-02-11     Occupancy Tax                                                       12.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       129.00
04-03-11     Occupancy Tax                                                       12.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       129.00
04-04-11     Occupancy Tax                                                       12.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       129.00
04-05-11     Occupancy Tax                                                       12.90
04-05-11     CA Assessment Fee                                                    0.13
                                        Guest Total                           1,278.27              0.00
             Mga, Storage Room # 0325
03-28-11     Package Room                                                       129.00
03-28-11     Occupancy Tax                                                       12.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       129.00
03-29-11     Occupancy Tax                                                       12.90


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                                                                     Hyatt Regency Irvine
                                          #:325476
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INFORMATION INVOICE



Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       129.00
03-30-11     Occupancy Tax                                                       12.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       129.00
03-31-11     Occupancy Tax                                                       12.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       129.00
04-01-11     Occupancy Tax                                                       12.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       129.00
04-02-11     Occupancy Tax                                                       12.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       129.00
04-03-11     Occupancy Tax                                                       12.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       129.00
04-04-11     Occupancy Tax                                                       12.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       129.00
04-05-11     Occupancy Tax                                                       12.90
04-05-11     CA Assessment Fee                                                    0.13
                                         Guest Total                          1,278.27              0.00
             Simpson, Lisa Room # 0333
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
                                         Guest Total                          1,199.33              0.00
             Stovall, Mike Room # 0334
04-04-11     Package Room                                                        99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
                                         Guest Total                            436.12              0.00
             Stovall, Mike Room # 0336
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
        Van Nuys CA 91406
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
                                          Guest Total                           436.12              0.00
             Stovall, Mike Room # 0336
04-11-11     No Show Room                                                        99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
                                          Guest Total                           109.03              0.00
             Hurst, Annette Room # 0362
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                        99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                        99.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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                                                                      Folio Window 1
Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                       99.00
04-14-11     Occupancy Tax                                                        9.90
04-14-11     CA Assessment Fee                                                    0.13
04-15-11     Package Room                                                       99.00
04-15-11     Occupancy Tax                                                        9.90
04-15-11     CA Assessment Fee                                                    0.13
04-16-11     Package Room                                                       99.00
04-16-11     Occupancy Tax                                                        9.90
04-16-11     CA Assessment Fee                                                    0.13
04-17-11     Package Room                                                       99.00
04-17-11     Occupancy Tax                                                        9.90
04-17-11     CA Assessment Fee                                                    0.13
04-18-11     Package Room                                                       99.00
04-18-11     Occupancy Tax                                                        9.90
04-18-11     CA Assessment Fee                                                    0.13
04-19-11     Package Room                                                       99.00
04-19-11     Occupancy Tax                                                        9.90
04-19-11     CA Assessment Fee                                                    0.13
04-20-11     Package Room                                                       99.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival            03-28-11
        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-20-11     Occupancy Tax                                                        9.90
04-20-11     CA Assessment Fee                                                    0.13
04-21-11     Package Room                                                        99.00
04-21-11     Occupancy Tax                                                        9.90
04-21-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,725.75              0.00
             Hauenstein, Terri Room # 0405
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          327.09              0.00
             Trueba, Mariana Room # 0414
03-05-11     Package Room                                                        99.00
03-05-11     Occupancy Tax                                                        9.90
03-05-11     CA Assessment Fee                                                    0.13
03-06-11     Package Room                                                        99.00
03-06-11     Occupancy Tax                                                        9.90
03-06-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Prieto, Cesar Room # 0415
03-05-11     Package Room                                                        99.00


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        MGA Entertainment
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        16380 Roscoe Blvd                                             Departure          04-28-11
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-05-11     Occupancy Tax                                                        9.90
03-05-11     CA Assessment Fee                                                    0.13
03-06-11     Package Room                                                        99.00
03-06-11     Occupancy Tax                                                        9.90
03-06-11     CA Assessment Fee                                                    0.13
                                          Guest Total                           218.06              0.00
             Bryant, Carter Room # 0419
04-06-11     No Show Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
                                          Guest Total                           109.03              0.00
             Molinski, Bill Room # 0443
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                        99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13


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Payee                                                                 Room No.           9003
        MGA Entertainment
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-02-11     Package Room                                                        99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                        99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                        99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                        99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
                                          Guest Total                         1,308.36              0.00
             Molinski, Bill Room # 0567
04-21-11     Package Room                                                        99.00
04-21-11     Occupancy Tax                                                        9.90
04-21-11     CA Assessment Fee                                                    0.13
                                          Guest Total                           109.03              0.00


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Payee                                                                 Room No.           9003
        MGA Entertainment
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Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
             Murray, Bernadette Room # 0713
03-28-11     Package Room                                                       99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                       99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                       99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                       99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13
04-13-11     Package Room                                                       99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
04-14-11     Package Room                                                       99.00
04-14-11     Occupancy Tax                                                        9.90


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Payee                                                                 Room No.           9003
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-14-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,962.54              0.00
             Gronich, Dathne Room # 0725
04-05-11     Package Room                                                       129.00
04-05-11     Occupancy Tax                                                       12.90
04-05-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          142.03              0.00
             Boulankine, Denis Room # 0920
04-05-11     Package Room                                                        99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                        99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                        99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          327.09              0.00
             Rofheart, Barry Room # 0923
03-28-11     Package Room                                                       134.00
03-28-11     Occupancy Tax                                                       13.40
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                       134.00
03-29-11     Occupancy Tax                                                       13.40
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                       134.00
03-30-11     Occupancy Tax                                                       13.40


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Payee                                                                 Room No.           9003
        MGA Entertainment
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        16380 Roscoe Blvd                                             Departure          04-28-11
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                       134.00
03-31-11     Occupancy Tax                                                       13.40
03-31-11     CA Assessment Fee                                                    0.13
                                       Guest Total                              590.12              0.00
             Hall, Lynn Room # 0941
03-28-11     Package Room                                                        99.00
03-28-11     Occupancy Tax                                                        9.90
03-28-11     CA Assessment Fee                                                    0.13
03-29-11     Package Room                                                        99.00
03-29-11     Occupancy Tax                                                        9.90
03-29-11     CA Assessment Fee                                                    0.13
03-30-11     Package Room                                                        99.00
03-30-11     Occupancy Tax                                                        9.90
03-30-11     CA Assessment Fee                                                    0.13
03-31-11     Package Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
04-01-11     Package Room                                                        99.00
04-01-11     Occupancy Tax                                                        9.90
04-01-11     CA Assessment Fee                                                    0.13
04-02-11     Package Room                                                        99.00
04-02-11     Occupancy Tax                                                        9.90
04-02-11     CA Assessment Fee                                                    0.13
04-03-11     Package Room                                                        99.00
04-03-11     Occupancy Tax                                                        9.90
04-03-11     CA Assessment Fee                                                    0.13


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Payee                                                                 Room No.           9003
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        16380 Roscoe Blvd                                             Departure          04-28-11
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges           Credits
04-04-11     Package Room                                                       99.00
04-04-11     Occupancy Tax                                                        9.90
04-04-11     CA Assessment Fee                                                    0.13
04-05-11     Package Room                                                       99.00
04-05-11     Occupancy Tax                                                        9.90
04-05-11     CA Assessment Fee                                                    0.13
04-06-11     Package Room                                                       99.00
04-06-11     Occupancy Tax                                                        9.90
04-06-11     CA Assessment Fee                                                    0.13
04-07-11     Package Room                                                       99.00
04-07-11     Occupancy Tax                                                        9.90
04-07-11     CA Assessment Fee                                                    0.13
04-08-11     Package Room                                                       99.00
04-08-11     Occupancy Tax                                                        9.90
04-08-11     CA Assessment Fee                                                    0.13
04-09-11     Package Room                                                       99.00
04-09-11     Occupancy Tax                                                        9.90
04-09-11     CA Assessment Fee                                                    0.13
04-10-11     Package Room                                                       99.00
04-10-11     Occupancy Tax                                                        9.90
04-10-11     CA Assessment Fee                                                    0.13
04-11-11     Package Room                                                       99.00
04-11-11     Occupancy Tax                                                        9.90
04-11-11     CA Assessment Fee                                                    0.13
04-12-11     Package Room                                                       99.00
04-12-11     Occupancy Tax                                                        9.90
04-12-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 56 of 57 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325490
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.            9003
        MGA Entertainment
        Mattel v. MGA Litigation                                      Arrival             03-28-11
        16380 Roscoe Blvd                                             Departure           04-28-11
        Van Nuys CA 91406
        United States                                                 Page No.            55 of 56
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment


 Date        Description                                                      Charges            Credits
04-13-11     Package Room                                                        99.00
04-13-11     Occupancy Tax                                                        9.90
04-13-11     CA Assessment Fee                                                    0.13
                                        Guest Total                           1,853.51               0.00
             MGA Entertainment Room # 9003
04-30-11     Group Room Adj.                                                  -2,376.00
04-30-11     Occupany Tax Adj.                                                  -237.60
04-30-11     CA Assessment Fee Adj.                                               -3.12
                                        Guest Total                           -2,616.72              0.00
             Kuemmerle, Susana Room #
03-31-11     No Show Room                                                        99.00
03-31-11     Occupancy Tax                                                        9.90
03-31-11     CA Assessment Fee                                                    0.13
                                        Guest Total                             109.03               0.00




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          Case 2:04-cv-09049-DOC-RNB Document 10684-7 Filed 07/11/11 Page 57 of 57 Page ID
                                                                       Hyatt Regency Irvine
                                            #:325491
                                                                                                                                           17900 Jamboree Road
                                                                                                                                           Irvine, CA 92614
                                                                                                                                           Tel: 949.975.1234
                                                                                                                                           Fax: 949.852.1574
                                                                                                                                           Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                                                                                      Room No.             9003
           MGA Entertainment
           Mattel v. MGA Litigation                                                                                                        Arrival              03-28-11
           16380 Roscoe Blvd                                                                                                               Departure            04-28-11
           Van Nuys CA 91406
           United States                                                                                                                   Page No.             56 of 56
                                                                                                                                           Folio Window 1
Membership
Bonus Code                                                                                                                                 Folio

Confirmation No.                                                                                                                           Invoice

Group Name                 MGA Entertainment


Date                Description                                                                                                                       Charges           Credits

 No frequent traveler account has been credited for this
 stay. To enroll in Gold Passport, call 1-800-51-HYATT, or                     Total                                                             48,124.36                 0.00
 visit www.GoldPassport.com.


                                                                               Balance                                                                      48,124.36

Guest Signature                                                                                         Thank you for choosing Hyatt Regency Irvine!

I agree that my liability for this bill is not waived and I agree to be held       Our goal is to exceed all of your expectations during your stay.
personally liable in the event that the indicated person, company or               For comments, please contact us at quality-irvin@hyatt.com.
association fails to pay for any part or the full amount of these charges.
                                                                                   For questions concerning your bill, please call 888-472-2870 or e-mail
I accepted delivery of The Wall Street Journal M-F (Business Plan and              na.customerservice@hyatt.com
Gold Passport guests only). If refused, a refund of $1 will be provided.
                                                                                   Please remit payment to:
                                                                                   Hyatt Regency Irvine
                                                                                   P.O. Box 844125
                                                                                   Dallas, TX 75284




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